                     Case 4:10-cr-00192-DPM Document 91 Filed 07/18/13 Page 1 of 6
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet I
                                                                                                                          FILED
                                                                                                                         U.S. DISTRICT COURT
                                                                                                                  EASTERN p1srprcr o oro OT 0 g



                                     UNITED STATES DISTRICT COURT
                                                                                                              JAMES                    K
                                                          Eastern District of Arkansas
                                                                                                              By:_---\~'---1.'---lf--~=~
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                             v.                                          (For Revocation of Probation or Supervised Release)
                    Tom my Jordan

                                                                         Case No. 4:10-cr-192-DPM-02
                                                                         USM No. 26066-009
                                                                          Justin Eisele
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition( s)          _S_ee_b_e_lo_w_ _ _ _ _ _ _ of the term of supervision.
D was found in violation of condition(s)                                             after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                            Nature of Violation                                   Violation Ended
Special                           Did not attend substance abuse treatment; failed drug test                    06/05/2012

General                           Unlawful use of controlled substance                                          06/05/2012
Standard (2) & (5)                No lawful occupation; did not submit reports to P.O.                          03/05/2012
Special                           Failure to pay monthly criminal penalties                                     03/05/2012
       The defendant is sentenced as provided in pages 2 through _ __;;,6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7025                       07/17/2013
                                                                                             Date oflmposition of Judgment
Defendant's Year of Birth:           1959

City and State of Defendant's Residence:
Lake Village, AR
                                                                                    ~if{#·
                                                                          D.P. Marshall Jr.                            U.S. District Judge
                                                                                                Name and Title of Judge
                         Case 4:10-cr-00192-DPM Document 91 Filed 07/18/13 Page 2 of 6
  AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                  Judgment- Page   _.=.2_ of      6
  DEFENDANT: Tommy Jordan
  CASE NUMBER: 4:10-cr-192-DPM-02


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of:
8 months




     f/ The court makes the following recommendations to the Bureau of Prisons:
That Jordan participate in drug treatment and counseling.
That Jordan be housed at Yazoo City, MS or the facility closest to Lake Village, to facilitate visitation with family.


     f/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D    at    --------- D                   a.m.             D    p.m.   on
            D     as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D     as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                     to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                  By -----~~~~~~~~~~~~------­
                                                                                            DEPUTY UNITED STATES MARSHAL
                      Case 4:10-cr-00192-DPM Document 91 Filed 07/18/13 Page 3 of 6
  AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                    Judgment-Page      3    of          6
  DEFENDANT: Tommy Jordan
  CASE NUMBER: 4:10-cr-192-DPM-02
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
28 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any: unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  r/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  r/ The defendant shall cooperate in the collection ofDNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
                     Case 4:10-cr-00192-DPM Document 91 Filed 07/18/13 Page 4 of 6
 AO 2450    (Rev. 09111) Judgment in a Criminal Case for Revocations
            Sheet 3A - Supervised Release

                                                                                         Judgment-Page   _4_ of -----'6"----
 DEFENDANT: Tommy Jordan
 CASE NUMBER: 4:10-cr-192-DPM-02

                                         ADDITIONAL SUPERVISED RELEASE TERMS

14) Jordan shall participate, under the guidance and supervision of the probation officer, in a substance abuse treatment
program which may include testing, outpatient counseling, and residential treatment.

15) Jordan shall not obtain employment in an institution insured by the FDIC or a Federal Credit Union pursuant to 12
U.S.C. §§ 1785 and 1829.

16) Jordan shall disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is associated.
No new lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties
have been satisfied.

17) Jordan should be placed in a halfway house for four months at the beginning of his term of supervised release.
  AO 2450             Case
             (Rev. 09/11)      4:10-cr-00192-DPM
                          Judgment                                Document 91
                                   in a Criminal Case for Revocations            Filed 07/18/13 Page 5 of 6
             Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment- Page   _....;5:;...___   of   6
  DEFENDANT: Tommy Jordan
  CASE NUMBER: 4:10-cr-192-DPM-02
                                CRIMINAL MONETARY PENALTIES

      The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                        Assessment                                     Fine                               Restitution
  TOTALS        $ 50.00                                            $                                 $ 35,685.63


  D   The determination of restitution is deferred until _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

  r;/ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.

  Name of Payee                                  Total Loss*                     Restitution Ordered                Priority or Percentage
Fraud Restitution, GE MoneyBank,

P.O. Box 8726, Dayton, OH 45401

Attn: Valerie Selby                                     $4,448.40                             $4,448.40                 100%



CSIS, 14700 Citicorp Drive

Building 2, 1st Floor

Hagerstown, MD 21742

Attn: Vicky Yeager                                     $31,237.23                            $31,237.23                 100%




  TOTALS                                $      35,685.63                  $                   35,685.63
                                         ·-----'----
  t/ Restitution amount ordered pursuant to plea agreement $ _3_5;...,6_8_5_.6_3_ _ _ _ __
  D    The defendant must pay interest on restitution or a fine more than $2~500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § .;612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S. C. § 3612(g).


       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       1/ the interest requirement is waived for the      D fine          r;j restitution.
       D the interest requirement for the       D fine        D restitution is modified as follows:


  *Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
                      Case 4:10-cr-00192-DPM Document 91 Filed 07/18/13 Page 6 of 6
AO 2450      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 6- Schedule of Payments
                                                                                                                     6_ of
                                                                                                    Judgment- Page _ _                 6
DEFENDANT: Tommy Jordan
CASE NUMBER: 4:10-cr-192-DPM-02

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     r;f Lump sum payment of$ _5_0_..;...00_ _ _ __ due immediately, balance due
            0 not later than                                             , or
            ~ in accordance with          0     C,    0      D,     0   E,or     ~F below); or

B     0     Payment to begin immediately (may be combined with                  0 C,     0 D, or   0 F below); or
C     0     Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     0     Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                          (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     0     Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F     ~ Special instructions regarding the payment of criminal monetary penalties:

          During incarceration, Jordan shall pay 50% per month of all funds that are available to him. In community
          confinement, Jordan shall pay 10% of his gross monthly income.




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary renalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




~ Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
      corresponding payee, if appropriate.
    Diana Smith, Case No. 4:10-cr-192-01-DPM, $35,685.63, $35,685.63.




0     The defendant shall pay the cost of prosecution.

0     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
